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                 EXHIBIT 16
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Pharmaceutical Industry Conference
  deadiversion.usdoj.gov/mtgs/pharm_industry/13th_pharm/index.html


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September 11 & 12, 2007 — Houston, Texas

Presentations

    Thomas McLaughlin – Pharmaceutical Drug Theft

    Susan Carr – Ongoing Quota Issues

    Susan Baker – Overview of DEA Form 106

    Mark Caverly – Regulatory Update

    Mark Caverly – Combat Methamphetamine Epidemic Act (CMEA)

    John Bossert - CSOS, ARCOS, and Registration Update

    Mary Johnson-Rochee - CSOS, ARCOS and Registration Update


Tuesday, September 11, 2007




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   Welcoming Remarks

   Introduction and Conference Objectives

   Drug Theft / In-Transit Loss Panel

   Methadone Mortality

   Suspicious Orders

   Recent Drug Scheduling Actions / Drug Reviews

   Ongoing Quota Issues

   Overview of DEA Form 106

   Regulatory Update


Wednesday, September 12, 2007

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   Combat Methamphetamine Epidemic Act (CMEA)

   Dangers of Methamphetamine

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   CSOS, ARCOS, and Registration

   Regulatory and Drug and Chemical Evaluation

   CMEA



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Welcoming Remarks

Associate Special Agent-in-Charge, Joseph Arabit of the Houston Field Division opened the
13th Pharmaceutical Industry Conference. The conference was held September 11-12, 2007
at the JW Marriott in Houston, TX. Approximately 140 pharmaceutical industry
representatives participated in the meeting. Associate SAC Arabit briefed the attendees on
his background and career with the Drug Enforcement Administration (DEA) and discussed
local trafficking issues experienced in the DEA Houston Field Division. He then introduced
Judett Black, Diversion Program Manager, DEA Houston Field Division, to present opening
remarks and welcome the attendees to Houston.

Denise Curry, Deputy Director, Office of Diversion Control, greeted the conference
participants on behalf of DEA's Office of Diversion Control and Deputy Assistant
Administrator Joseph T. Rannazzisi. Deputy Director Curry stated that the purpose of the
conference was to strengthen ties and facilitate communication and cooperation between
DEA and the pharmaceutical industry. Deputy Director Curry emphasized the primary
mission of the Office of Diversion Control to ensure an adequate supply of controlled
substances for legitimate needs while preventing diversion into the illicit market. She gave a
brief overview of recent organizational changes at DEA and a synopsis of current issues
involving the abuse of prescription drugs.

Introduction and Conference Objectives

Mark Caverly, Chief, DEA Liaison and Policy Section, provided an overview of the conference
agenda, listed conference goals, and introduced the first presentation.

Drug Theft / In-Transit Loss Panel

Participants on this panel included Thomas McLaughlin (DEA Staff Coordinator), Kevin
Nicholson (National Association of Chain Drug Stores), Ryan Toole (FBI Supervisory Special
Agent), and Tammy Robertson (White Glove Services, FedEx Custom Critical). Discussion
focused on current issues relevant to theft and in-transit loss of controlled pharmaceuticals.
Each participant gave an overview of the problem and the methods used to stop diversion
and theft. -Presentation Slides Attached

Methadone Mortality Discussion

Denise Curry, Deputy Director, began the presentation by stating that there is a public
health crisis related to methadone overdose deaths. She gave statistics and a general
overview of DEA's concern. Gretchen Feussner, Pharmacologist, DEA Drug and Chemical
Evaluation Section, discussed the fact that methadone-related deaths continue to escalate.
She provided current data suggesting that medication from pain management is likely the
source of methadone for illicit use. However, she also pointed out that DEA cannot discount
diversion from Narcotic Treatment Programs. She noted that several of the top prescribers
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of methadone are practitioners who do not specialize in pain management and more than
one-half of all 40mg diskettes of methadone are distributed to pharmacies despite the fact
that this formulation has not been approved by the Food and Drug Administration (FDA) for
pain management. She stated that a single 40mg diskette can be lethal in an opioid naïve
person. Statistics from 1999-2004 from the CDC reported an 11-fold increase in deaths
among individuals age 15-24. According to results from the Substance Abuse and Mental
Health Services Administration (SAMHSA), Methadone Mortality Assessment Group,
methadone use must be carefully monitored in both pain management and narcotic
treatment. Among other recommendations, studies regarding cardiotoxic effects in patients
and better reporting of adverse events were advised.

Suspicious Orders

Michael Mapes, Chief, DEA, Regulatory Section, and Chris Zimmerman, Vice President,
Corporate Security and Regulatory Affairs, AmerisourceBergen updated the attendees on
when suspicious order reports should be submitted to authorities. Mr. Zimmerman noted
Title 21Code of Federal Regulations (21 CFR) §1301.71(a) which states, "All applicants and
registrants shall provide effective controls and procedures to guard against theft and
diversion of controlled substances." Methods to implement effective controls in the
pharmaceutical industry directly mirror regulations in 21 CFR §1301.74. Other
securitycontrols include making a good faith inquiry; report suspicious orders; report
significant losses. He also quoted 21 CFR § 1301.74(b), "The registrant shall design and
operate a system to disclose to the registrant suspicious orders of controlled substances.
The registrant shall inform the Field Diversion Office of the Administration in his area of
suspicious orders when discovered by the registrant."

Mr. Zimmerman stressed the importance of knowing your customer, and providing due
diligence investigations on all new retail and wholesale accounts, with the exception of retail
chain pharmacies. Included in the new account setup process is a new account
questionnaire. In addition, on-site visits are conducted which include the taking of
photographs inside and outside the premises. Mr. Mapes stated that the responsibility for
making the decision to ship rests with the supplier. Registrants who routinely report
suspicious orders, yet fill these orders, with reason to believe they are destined for the illicit
market, are failing to maintain effective controls against diversion. - Presentation Slides
Attached

Recent Drug Scheduling Actions/Drug Reviews

Christine Sannerud, Ph.D., Chief, Drug and Chemical Evaluation Section, provided an update
on current scheduling actions. On July 2, 2007, DEA published a Final Rule regarding
changes in the regulation of Iodine Crystals and Chemical Mixtures containing over 2.2 %
Iodine and moved Iodine from List II to List I. For more information on drugs of concern, see
the Drugs of Concern Website at www.deadiversion.usdoj.gov/drugs_concern/index.html
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Examples of Drugs of Concern

   •   Carisoprodol
   •   Dextromethorphan
   •   Fentanyl
   •   Hydrocodone
   •   Methylphenidate
   •   Salvia divinorum
   •   Tramadol
   •   Clenbuterol (New)
   •   Human Growth Hormone (New)

Ongoing Quota Issues

Susan Carr, Deputy Chief, Drug and Chemical Evaluation Section, explained the purpose for
quotas which include: Provide for legitimate need of controlled substances; restrict the
manufacture and procurement to those manufacturers registered by DEA; limit the quantity
of drugs in schedules I and II which may be manufactured or produced; provide adequate
inventories for manufacture. As defined in 21 CFR, there are 3 types of quotas: 1) Aggregate
Production Quotas 21 CFR §1303.11 and 1303.13; 2) Individual Manufacturing Quotas 21
CFR §1303.21 through 1303.26; and 3) Procurement Quotas 21 CFR §1303.12. Descriptions
of the quotas as well as the procedures for establishing and applying for the quotas can be
found in the cited sections of the CFR. Ms. Carr provided and overview of quota tips and
quota myths and briefly discussed the Combat Methamphetamine Epidemic Act (CMEA). -
Presentation Slides Attached

Overview of DEA Form 106

Susan Baker, Unit Chief, DEA Regulatory Section, covered use of the DEA Form 106, and
discussed what constitutes a significant loss, which included:

   •   The actual quantity of controlled substance lost in relation to the type of business.
   •   The specific controlled substances lost.
   •   Whether the loss of the controlled substances can be associated with access to those
       controlled substances by specific individuals, or whether the loss can be attributed to
       unique activities that may take place involving the controlled substances.
   •   A pattern of losses over a specific time period.
   •   Whether the losses appear to be random, and the results of efforts taken to resolve
       the losses; and, if known
   •   Whether the specific controlled substances are likely candidates for diversion.
   •   Local trends and other indicators of the diversion potential of the missing controlled
       substances.


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Ms. Baker also went over the procedure for properly completing a DEA Form 106, with
examples for the audience. -Presentation Slides Attached

Regulatory Update

Mark Caverly, Chief, DEA Liaison and Policy Section, gave an update on DEA chemical
regulations and noted the implementation of the Combat Methamphetamine Epidemic Act
(which he covered on day two). He discussed the published CMEA rules finalized within DEA
and those that remain pending. Mr. Caverly reviewed the multiple schedule 2 prescription
Rule that will allow practitioners to issue multiple schedule II prescriptions on the same day
with instructions stating the prescriptions are to be filled consecutively at set intervals. The
proposed Rule will provide greater control to physicians for prescribing schedule II
controlled substances. Mr. Caverly addressed CMEA rules pertaining to retail sales, the spot
market, quotas, and briefly talked about the Controlled Substances Export Reform Act of
2005, which would authorize export of controlled substances from the United States to
another country for subsequent export to one or more other countries, to include
schedules I, II, and narcotic controlled substances in schedules IIIand IV. He also provided
information on the following regulatory issues:

   •   A proposed Rule which proposes a new format for the Official Order Form, DEA 222.
   •   Amended registration regulations to clarify requirement that when an individual
       practitioner practices in more than one state, a separate DEA registration for each
       state (21 CFR§ 1301.12) is required. The Final Rule was published December 1, 2006,
       and became effective January 2, 2007.
   •   A Rule to move Iodine from a List II chemical to a List I chemical: The Final Rule was
       published on July 2, 2007, and became effective August 10, 2007.
   •   Pending Regulations/Policies (see slides) -Presentation Slides Attached


Wednesday, September 12, 2007
Internet Investigations

Matthew Murphy, Chief, DEA Pharmaceutical Investigations Section, addressed DEA's
current internet actions and initiatives. Since the early 2000's, the internet has become a
major source of prescription drug diversion. With the advent of diversion via the internet, it
is even more vital to maintain a working partnership between DEA and the pharmaceutical
history. Due to the sensitive nature of his presentation, slides are not attached.

Combat Methamphetamine Epidemic Act of 2005 (CMEA)

Mark Caverly, Chief, DEA Liaison and Policy Section, presented an overview of the CMEA
with a brief summary of the new law and the purpose for implementation. He discussed the
new category of chemicals called Scheduled Listed Chemical Products, (SLCP) which include
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retail preparations containing pseudoephedrine, ephedrine and phenylpropanolamine. Mr.
Caverly explained the requirements for regulated sellers and described the online system
available for sellers to self-certify. He talked about the DEA developed database containing
self-certification records which are available to state and local law enforcement agencies
and provided discussion of information required to be entered into a logbook. He discussed
privacy requirements, as well as, the purchase and sales limits for (SLCP's). -Presentation
Slides Attached

Dangers of Methamphetamine

Philippa Levine, Agent, Staff Coordinator, DEA Dangerous Drugs and Chemicals Section,
presented video clips and slides depicting the history, dangers, abuse patterns, and trends
related to methamphetamine use and illegal production. The abuse of methamphetamine
is a worldwide problem, however, the majority of abuse is concentrated in North America
and Asia. Ms. Levine discussed the different types of methamphetamine (crystal, powder,
etc.) and the reasons for its abuse. She provided examples of the common household
products used to manufacture methamphetamine with the most common ingredient being
over- the- counter drugs containing pseudoephedrine. She stated that there are less small
toxic labs being seized since the implementation of the CMEA by congress, and that the
majority of methamphetamine is now being produced in superlabs in foreign countries. Due
to the sensitive nature of this presentation, slides are not attached.

Chemical Drug Trends

Philippa Levine, Agent, Staff Coordinator, DEA Dangerous Drugs and Chemicals Section,
gave a historical account of current and past abuse patterns and drug tends. Her focus was
on the following topics:

   •   Ongoing Efforts with Mexico (why it's important to you in Industry)
   •   Global Amphetamine & Methamphetamine Update
   •   Current Trends in Amphetamine and Methamphetamine Precursor Diversion
   •   Ephedra / E & PSE Derivatives
   •   MDMA and Other Synthetic Drugs

Due to the sensitive nature of this presentation, slides are not attached.

Promethazine with Codeine Abuse

Dawn Mathis, Agent, DEA Special Support Group, Houston Field Division and Susan
Richards, Diversion Investigator, Houston Field Division, presented case studies and video
regarding the Houston area problem with abuse of promethazine with codeine cough syrup
and its ties to the rap/hip-hop culture. This presentation alerted the pharmaceutical industry
to patterns and trends in the diversion of legitimate pharmaceutical products into the illegal
market. Due to the sensitive nature of this presentation, slides are not attached.
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CSOS, ARCOS, and Registration Update

Mary Johnson-Rochee, Deputy Chief, DEA Registration and Program Support Section, and
John Bossert, Chief, DEA Diversion Technology Section, presented an update on the
Controlled Substance Ordering System (CSOS). This system is an optional online ordering
system for controlled substances and does not have a separate registration fee for utilizing
the system. Use of CSOS by industry was encouraged. Discussion of current registration
information was also provided and a detailed explanation of how to use CSOS was outlined,
to include:

   •   Suppliers and purchasers of controlled substances apply for a digital certificate
       through the CSOS program
   •   A personal digital identity, called a digital certificate, is issued to each approved CSOS
       applicant
   •   The digital certificate is downloaded and installed on the CSOS user's computer
   •   Ordering software is installed onto the applicant's computer
   •   The CSOS user is now set up to conduct electronic orders of controlled substances
       using the digital certificate as an electronic form of authentication with other
       authorized users

Benefits of using the CSOS system were provided as well as updates on registration data.
Further information can be found on the slides. -Presentation Slides Attached


Break-Out Sessions
After the conclusion of the conference, five Break-Out Sessions were held:

   •   Field Issues
   •   Policy and Methadone Mortality
   •   CSOS, ARCOS, and Registration
   •   Regulatory and Drug and Chemical Evaluation
   •   CMEA

These sessions afforded attendees an opportunity to directly interact with DEA staff, ask
questions, and discuss any concerns they had. Comments received from attendees suggest
that these sessions were very well received and appreciated.




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